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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                         :
                                                 :      CRIMINAL NO. 22-cr-200
                 v.                              :
                                                 :
PETER K. NAVARRO,                                :
                                                 :
                                                 :
                 Defendant.                      :

                          MOTION FOR PROTECTIVE ORDER
                      AND TO DISCLOSE GRAND JURY TESTIMONY

       To expedite discovery, which the government is prepared to produce as soon as a protective

order is in place, the United States of America hereby respectfully moves the Court for the entry

of the attached proposed protective order governing the production of discovery by the parties in

the above-captioned case and for an order permitting the disclosure to the Defendant of testimony

before the grand jury obtained in the investigation that led to the pending case.

I.     Background

       On June 2, 2022, a grand jury sitting in the District of Columbia returned an indictment

charging the Defendant with two counts of contempt of Congress, in violation of 2 U.S.C. § 192.

The charges arise from the Defendant’s refusal to comply with a subpoena issued to him by the

U.S. House Select Committee to Investigate the January 6th Attack on the United States Capitol

(“the Committee”).

       The Defendant was arrested and made his initial appearance on June 3, 2022. During the

hearing, the Defendant stated that he was likely to proceed pro se in this matter. E.g., 6/3/22 Hrg.,

Tr. at 18:6-9.    In addition, when the issue of the Government’s proposed protective order and

discovery was addressed, the Defendant stated, “I would ask for them to provide this immediately
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in the case, in the high probability that I’ll do this pro se. So I want to see what they have now.”

Id. at 51:8-11.

         Immediately after his initial appearance, in front of the courthouse doors, the Defendant

voluntarily made an almost 18-minute extrajudicial statement about the pending criminal case. In

his statement, the Defendant accused the Government of misconduct, claimed he was the victim

of selective prosecution, and claimed the prosecution was what one would see in “Stalinist Russia.”

Peter Navarro, former Trump aide, speaks after Jan. 6 indictment, LiveNow from FOX, Jun. 3,

2022.1       The Defendant also discussed the merits of various legal arguments related to the pending

charges, including disputing the legal legitimacy of the Committee and its investigation, calling it

a “kangaroo committee.”2        Id.

         On June 6, 2022, the Defendant appeared on Fox News’s primetime television show,

“Tucker Carlson Tonight,” and again made several extrajudicial statements relating to the pending

charges in this case. See Peter Navarro joins Tucker Carlson following FBI arrest over January

6 committee subpoena, Fox News, June 6, 2022.3           As he did in his post-court statements, the

Defendant accused the Government of misconduct, claiming it used a “terrorist strategy” to arrest

him.     Id. He also made claims about the legal merits of his decision to defy the Committee’s

subpoena, the legal authority of the Committee, and again called the Committee a “kangaroo

committee.” Id.



         1
             Available at https://www.youtube.com/watch?v=bBLYunKH1-I (last accessed June 8,
2022).
         2
          The Defendant also claimed that he would not discuss the case, despite his statements
relating to the case.
         3
             Available at https://www.youtube.com/watch?v=SjL6mS5IU9o (last accessed June 8,
2022).
                                                    2
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II.    Motion for Protective Order

       The Government is prepared to produce discovery to the Defendant.            The discovery

consists of less than 100 documents falling into approximately six categories of information: 1)

grand jury material, 2) law enforcement reports of witness interviews, 3) correspondence between

the defendant and others, 4) law enforcement database information relating to the Defendant, 5)

subscriber information for the Defendant’s phone and email accounts; and 6) telephone toll

records.   The Defendant’s extrajudicial statements, however, demonstrate a substantial risk that,

without a protective order, the Defendant will use non-public discovery for improper purposes

instead of to prepare the defense he plans to present before this Court.

       “[A] ‘trial court can and should, where appropriate, place a defendant and his counsel under

enforceable orders against unwarranted disclosure of the materials which they may be entitled to

inspect.’” United States v. Cordova, 806 F.3d 1085, 1090 (D.C. Cir. 2015) (quoting Alderman v.

United States, 394 U.S. 165, 185 (1969)); see also Seattle Times Co. v. Rhinehart, 467 U.S. 20,

31-34 (1984) (noting that discovery rules are a matter of “legislative grace” and litigants have no

inherent rights to disseminate what they only obtain through the discovery process).   To obtain a

protective order, the proponent must establish good cause based on a particularized, specific

showing.    United States v. Dixon, 355 F. Supp. 3d 1, 4 (D.D.C. 2019). Courts also recognize that

blanket protective orders, such as the one the Government seeks here, can help expedite discovery

and are appropriate upon a showing of good cause. See United States v. Johnson, 314 F. Supp.

3d 248, 252 (D.D.C. 2018) (citing United States v. Bulger, 283 F.R.D. 46, 52 (D. Mass. 2012);

United States v. Luchko, No. 06-cr-319, 2006 WL 3060985, at *5 (E.D. Pa. Oct. 27, 2006)); United

States v. Smith, 985 F. Supp. 2d 506, 545 (S.D.N.Y. 2013).



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        Good cause exists here to enter the proposed protective order.             The Defendant has

demonstrated through his public statements that he intends to litigate the merits of the pending

charges in the press.   Moreover, proceeding pro se, the Defendant does not have an attorney who

can monitor his use of non-public discovery material and who is subject to the District’s clear rules

limiting extrajudicial statements and other efforts to taint the jury pool.4   An order from this Court

limiting the Defendant’s use of discovery only to the preparation of his defense is the best means,

therefore, to ensure the Defendant cannot bolster his improper efforts to keep a running public

commentary by publishing materials that are not part of the case’s public record and that the

Defendant only has obtained through the discovery process. Restraining the release of discovery

as proposed, therefore, serves important public and judicial interests. See Gentile v. State Bar of

Nevada, 501 U.S. 1030, 1070 (1991) (“The outcome of a criminal trial is to be decided by impartial

jurors, who know as little as possible of the case, based on material admitted into evidence before

them in a court proceeding.     Extrajudicial comments on, or discussion of, evidence which might

never be admitted at trial . . . obviously threaten to undermine this basic tenant.”). It also furthers

the Court’s recognized obligation to avoid the “carnival atmosphere” that might accompany a case

receiving substantial public attention, Shepherd v. Maxwell, 384 U.S. 333, 357-58 (1966), as this

case already has, due, in part, to the Defendant’s press appearances.

        The Government reached out to the Defendant on Monday, June 6, 2022, for the

Defendant’s position with respect to the proposed protective order. In response, the Defendant




        4
         See Local Criminal Rule 57.7(b)(3) (prohibiting attorneys or law firms associated with
the defense in a criminal matter from making or authorizing extrajudicial statements “which a
reasonable person would expect to be disseminated by means of public communication, relating
to that matter and concerning: . . . (vi) [a]ny opinion as to the accused’s guilt or innocence or as to
the merits of the case or the evidence in the case”).
                                                    4
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stated, “I am in the process of assembling a legal team and it would be premature for you to file

this order until my representation is in place and premature to respond further to your queries.”

At his initial appearance, however, the Defendant indicated he wanted discovery “now,” and the

Government is prepared to provide it—indeed, there is no basis to delay discovery, and

consequently progress to trial, in this straightforward case about whether the Defendant showed

up when required.     The Defendant’s objection does not establish a basis for delaying entry of a

protective order that will allow discovery to proceed—particularly because the Defendant has now

made conflicting statements regarding his intention to obtain counsel and has provided no

timeframe within which he believes he will do so.       In any event, the Defendant is not prejudiced

by the proposed order.      He can move to modify the order later as he or his counsel believe

appropriate, and the proposed order allows the Government to fulfill the Defendant’s request for

immediate discovery without compromising the integrity of the proceedings by risking the

premature release of non-public information for public commentary and consideration.

         The Government therefore requests that the Court enter the attached proposed protective

order.

III.     Motion to Release Grand Jury Material to the Defendant

         The Government also requests that the Court allow it to produce to the Defendant testimony

and related exhibits present to the grand jury in the investigation that led to the charges in this case,

insofar as such disclosure is necessary for the Government to comply with its discovery

obligations. Under Federal Rule of Criminal Procedure 6(e)(3)(E)(i), “[t]he court may authorize

disclosure—at a time, in a manner, and subject to any other conditions that it directs—of a grand-

jury matter: (i) preliminarily to or in connection with a judicial proceeding.” Rule 6(e)(3)(F)

provides certain requirements for a petition under Rule 6(e)(3)(E)(i), including that the petition be

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filed in the district where the grand jury convened and that the court “must afford a reasonable

opportunity to appear and be heard to: (i) an attorney for the government; (ii) the parties to the

judicial proceeding; and (iii) any other person whom the court may designate.” The Government

submits that the requirements of Rule 6(e)(3)(F) are satisfied by submission and resolution of this

motion. The Government further submits that such an order is appropriate because grand jury

testimony in this case constitutes material to which the defendant is entitled as part of his

discovery.

IV.    Conclusion

       Accordingly, the Government respectfully requests an order entering the attached

protective order and authorizing the disclosure of grand jury testimony to the Defendant.



                                             Respectfully submitted,


                                             MATTHEW M. GRAVES
                                             United States Attorney
                                             D.C. Bar No. 481052

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                                 CERTIFICATE OF SERVICE

        I certify that, on June 8, 2022, I provided a copy of the United States’ Motion for Protective
Order and to Disclose Grand Jury Testimony, and a copy of the attached proposed protective order,
to the Defendant, by email, at his email address, pknavarro@protonmail.com.


                                                      /s/ Amanda R. Vaughn
                                                      Amanda R. Vaughn
                                                      Assistant United States Attorney




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